                     Case 3:19-cv-00063-DJH Document 1-3 Filed 01/23/19 Page 1 of 2 PageID #: 19
JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
KABUKI INDUSTRIES, INC.                                                                                     LIBERTY MUTUAL INSURANCE (Ohio Security Insurance Co.)

    (b) County of Residence of First Listed Plaintiff             Hardin Co., KY                              County of Residence of First Listed Defendant              MA
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Dwight Preston, LEWIS & PRESTON, PLLC, 102 W. Dixie                                                         Douglas W. Langdon, J. Kendrick Wells IV, FROST BROWN TODD
Avenue, Elizabethtown, KY 42701; dpreston@lewisandpreston.com                                               LLC, 400 W Market St., 32nd Fl, Louisville KY 40202; 502/589-5400;
                                                                                                            dlangdon@fbtlaw.com; kwells@fbtlaw.com
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
# 1    U.S. Government                # 3     Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         # 1        # 1      Incorporated or Principal Place       # 4     # 4
                                                                                                                                                         of Business In This State

# 2    U.S. Government                # 4     Diversity                                              Citizen of Another State          # 2    #    2   Incorporated and Principal Place    # 5     # 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           # 3    #    3   Foreign Nation                      # 6     # 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                              TORTS                                 FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
#   110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY             # 625 Drug Related Seizure          # 422 Appeal 28 USC 158          # 375 False Claims Act
#   120 Marine                       #   310 Airplane                  # 365 Personal Injury -             of Property 21 USC 881        # 423 Withdrawal                 # 376 Qui Tam (31 USC
#   130 Miller Act                   #   315 Airplane Product                Product Liability       # 690 Other                               28 USC 157                       3729(a))
#   140 Negotiable Instrument                 Liability                # 367 Health Care/                                                                                 # 400 State Reapportionment
#   150 Recovery of Overpayment      #   320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                # 410 Antitrust
        & Enforcement of Judgment             Slander                        Personal Injury                                             # 820 Copyrights                 # 430 Banks and Banking
#   151 Medicare Act                 #   330 Federal Employers’              Product Liability                                           # 830 Patent                     # 450 Commerce
#   152 Recovery of Defaulted                 Liability                # 368 Asbestos Personal                                           # 835 Patent - Abbreviated       # 460 Deportation
        Student Loans                #   340 Marine                          Injury Product                                                    New Drug Application       # 470 Racketeer Influenced and
        (Excludes Veterans)          #   345 Marine Product                  Liability                                                   # 840 Trademark                        Corrupt Organizations
#   153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY                        LABOR                     SOCIAL SECURITY                # 480 Consumer Credit
        of Veteran’s Benefits        #   350 Motor Vehicle             # 370 Other Fraud             # 710 Fair Labor Standards          # 861 HIA (1395ff)               # 490 Cable/Sat TV
#   160 Stockholders’ Suits          #   355 Motor Vehicle             # 371 Truth in Lending               Act                          # 862 Black Lung (923)           # 850 Securities/Commodities/
#   190 Other Contract                       Product Liability         # 380 Other Personal          # 720 Labor/Management              # 863 DIWC/DIWW (405(g))               Exchange
#   195 Contract Product Liability   #   360 Other Personal                  Property Damage                Relations                    # 864 SSID Title XVI             # 890 Other Statutory Actions
#   196 Franchise                            Injury                    # 385 Property Damage         # 740 Railway Labor Act             # 865 RSI (405(g))               # 891 Agricultural Acts
                                     #   362 Personal Injury -               Product Liability       # 751 Family and Medical                                             # 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     # 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                 PRISONER PETITIONS           # 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
#   210 Land Condemnation            #   440 Other Civil Rights          Habeas Corpus:              # 791 Employee Retirement           # 870 Taxes (U.S. Plaintiff      # 896 Arbitration
#   220 Foreclosure                  #   441 Voting                    # 463 Alien Detainee                Income Security Act                  or Defendant)             # 899 Administrative Procedure
#   230 Rent Lease & Ejectment       #   442 Employment                # 510 Motions to Vacate                                           # 871 IRS—Third Party                  Act/Review or Appeal of
#   240 Torts to Land                #   443 Housing/                        Sentence                                                           26 USC 7609                     Agency Decision
#   245 Tort Product Liability               Accommodations            # 530 General                                                                                      # 950 Constitutionality of
#   290 All Other Real Property      #   445 Amer. w/Disabilities -    # 535 Death Penalty                 IMMIGRATION                                                          State Statutes
                                             Employment                  Other:                      # 462 Naturalization Application
                                     #   446 Amer. w/Disabilities -    # 540 Mandamus & Other        # 465 Other Immigration
                                             Other                     # 550 Civil Rights                  Actions
                                     #   448 Education                 # 555 Prison Condition
                                                                       # 560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
# 1 Original             # 2 Removed from                 # 3         Remanded from             # 4 Reinstated or       # 5 Transferred from     # 6 Multidistrict                  # 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           28 USC Sect 1332, 1441, 1446
VI. CAUSE OF ACTION Brief description of cause:
                                           Plaintiff filed complaint for damages & declaration of rights. Allegations of denial of coverage in violation of policy.
VII. REQUESTED IN     # CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         # Yes      # No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
           January 23, 2019
                                                                        s/Douglas W. Langdon
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
                   Case 3:19-cv-00063-DJH Document 1-3 Filed 01/23/19 Page 2 of 2 PageID #: 20
JS 44 Reverse (Rev. 06/17)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
